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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION

UNITED STATES OF AMERICA                        )
                                                )
       v.                                       )           CR 115-077
                                                )
CHARVIS LAWRENCE                               )
                                           _________

                                           ORDER
                                           _________

       Defendant Charvis Lawrence requests an extension of time to file pre-trial motions in

this case because defense counsel needs more time to receive and review the discovery from

the government in an electronic format. (Doc. no. 198.)

       The Court finds, as a matter of fact and law, that the motion is not for the purpose of

delay, but in the furtherance of justice, and to protect the defendant’s right to a fair trial. The

Court also finds that the motion is for the purpose of allowing reasonable time necessary,

assuming the exercise of due diligence, for the effective preparation of defense counsel in

that counsel needs additional time to review the discovery information provided by the

government and determine whether any pre-trial motions should be filed in this case.

Therefore, pursuant to 18 U.S.C. § 3161(h)(7), and on the basis of the Court’s finding that

the ends of justice served by granting the motion for an extension outweigh the best interests

of the public and the defendant in a speedy trial, the Court GRANTS Defendant’s motion for

reconsideration of the Court’s Order date September 21, 2015. Accordingly, any pre-trial

motions must be filed no later than November 4, 2015. The period of delay resulting from

this extension – October 5, 2015, through and including November 4, 2015 - is excluded in
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computing the time within which the trial of this matter may commence.

        Defense counsel is specifically cautioned that because of this extension,

“preliminary” motions to suppress, dismiss, or sever will not be looked upon favorably. All

motions must comply with Local Criminal Rule 12.1 at the time of filing, including the

provisions concerning affidavits, citations to record evidence, and supporting memorandums.

Any “preliminary” motions on the docket as of November 4, 2015, will be treated as

nullities.

        SO ORDERED this 24th day of September, 2015, at Augusta, Georgia.




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